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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 LEE S. BICKLEY
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5

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 7 Attorneys for Plaintiff
   United States of America
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 9
                                 IN THE UNITED STATES DISTRICT COURT
10
                                    EASTERN DISTRICT OF CALIFORNIA
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12   UNITED STATES OF AMERICA,                           CASE NO. 2:11-CR-00427 LKK
13                                Plaintiff,             ORDER RE: SCHEDULING TRIAL DATE AND
                                                         EXCLUDING TIME UNDER SPEEDY TRIAL ACT
14                          v.
                                                         DATE: February 25, 2014
15   VALERI MYSIN, et al.,                               TIME: 9:15 a.m.
                                                         COURT: Hon. Lawrence K. Karlton
16                               Defendants.
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18          On February 25, 2014, the Court held a status conference in this case. Assistant United States
19 Attorney Lee S. Bickley appeared on behalf of plaintiff, the United States of America. John Duree Jr.,

20 Dina Santos, Joseph Wiseman, Julia Young, and John Balazs appeared on behalf of their clients Valeri

21 Mysin (waiver on file), Michael Kennedy (waiver on file), Alexander Kokhanets (waiver on file), Boris

22 and Zinaida Murzak (both present and out of custody) and Vitaliy Tuzman (waiver on file). Dina Santos

23 appeared for Matt Scoble, who is in trial, and his client Angela Shavlosky (waiver on file).

24          This Court set the trial date for August 12, 2014 at 10:30 a.m. and a trial confirmation hearing
25 for July 22, 2014 at 9:15 a.m.

26          The Court also granted the defendants’ request for an exclusion of time pursuant to Local Code
27 T4 in order for further defense preparation. All the defendants requested this continuance and exclusion

28 of time for effective defense preparation for trial. The government did not object to this request.

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      TIME
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 1 Having found that the ends of justice served by continuing the case as requested outweigh the interest of

 2 the public and the defendants in a trial within the original date prescribed by the Speedy Trial Act, the

 3 Court therefore excluded time from and including February 25, 2014, to, and including, August 12,

 4 2014, from computation of time within which the trial of this matter must be commenced, pursuant to

 5 Local Code T4.

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 7 DATED: February 27, 2014

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      ORDER RE: SETTING TRIAL DATE AND EXCLUDING         2
      TIME
